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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       Case No. 1:21-cr-142 (CJN)
       v.                                      :
                                               :
SAMUEL FISHER,                                 :
                                               :
               Defendant                       :

 GOVERNMENT’S RESPONSE TO MOTION FOR VOLUNTARY SURRENDER AND
                   TO AMEND THE JUDGMENT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this response to the defendant’s Motion for

Voluntary Surrender and to Amend the Judgment (Doc. No. 46).

       In the Judgment (Doc. No. 43), this Court stated that “[t]he defendant is remanded to the

custody of the United States Marshal.” (Id. at 2.) In his post-sentencing motion, the defendant

asks the Court to effectively supersede that aspect of the Judgment and allow him to voluntarily

surrender. (Doc. No. 46 at 1). The defendant also requests that the Court amend the judgment to

state that the Court does not object to his participation in certain rehabilitation programs while he

serves his state sentence in New York. (Id.)

       On the merits, the government has no substantive objection to the relief requested by the

defendant. At the same time, it is not clear that the defendant has established this Court’s authority

to grant the relief he requests. The defendant cites (Doc. No. 46 at 4 n.3) Federal Rule of Criminal

Procedure 36, which provides: “After giving any notice it considers appropriate, the court may at

any time correct a clerical error in a judgment, order, or other part of the record, or correct an error

in the record arising from oversight or omission.” Fed. R. Crim. Proc. 36. But the defendant does

not persuasively explain how the Judgment’s directive remanding him to the custody of the United



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States Marshal constituted an “error,” let alone a “clerical error” or an “error … arising from

oversight or omission” as required by Rule 36. And the same is true of the Judgment’s omission

of the language that the defendant now requests. If, however, the Court finds that it has authority

to grant the relief requested (either under Rule 36 or otherwise), the government does not oppose

relief on the merits.

November 9, 2022                      Respectfully submitted,

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